                     · IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION
                                  No. S:17-CV-617-D


CHRISTOPHER SWINDELL,                     )
                                          )
                       Plaintiff,         )
                                          )
              v.                          )                 ORDER
                                          )
CACI NSS, INC., and                       )
QUICK SERVICES, LLC,                      )
                                          )
                       Defendants.        )


       In light of plaintiff's appeal and motion to stay, the court DENIES without prejudice each

defendant's motion for bill of costs [D.E. 98, 101]. The court DENIES as moot plaintiff's motion

to stay [D.E. 106]. Each defendant may file a new application for costs if the judgment as to that

defendant is affirmed on appeal.

       SO ORDERED. This 30 day of December 2020.




                                                        JSC.DEVERill
                                                        United States District Judge




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